                       Case 4:14-cr-00121-KGB                   Document 70               Filed 09/02/15        Page 1U.S.
                                                                                                                       of 6 FILED
                                                                                                                           DISTRICT COURT
A0245B        (Rev. 09/11) Judgment in a Criminal Case                                                               EASTERN DISTRICT ARKANSAS
              Sheet 1
                                                                                                                           5EP 0 2 Zbi5
                                           UNITED STATES DISTRICT COURT~~~Es~(!.~K,CLERK
                                                           Eastern District of Arkansas                                                       DEPCLERK
                                                                          )
             UNITED STATES OF AMERICA                                     )          JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                    NATHANIEL SMITH, IV                                   )
                                                                          )
                                                                                     Case Number: 4:14-cr-00121-01 KGB
                                                                          )          USM Number: 24129-009
                                                                          )
                                                                          )          KIM DRIGGERS
                                                                                     Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)            6
                                    -------------------------------------
0 pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended
18 U.S.C. § 2421                   Transportation of an Individual with Intent to Engage in                   2/28/2014                  6
                                   Prostitution, a Class C Felony



       The defendant is sentenced as provided in pages 2 through                 6          of this judgment. The sentence is imposed pursuant to
                                                                          ----
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
"'Count(s)      1-4, 1s-Ss, and 7s                       D is     ~are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           8/27/2015
                                                                          Date oflmposition of Judgment




                                                                              Kristine G. Baker                         U.S. District Judge
                                                                          Name and Title of Judge


                                                                                  q f '1--1 l-O\£?
                                                                          Date
                        Case 4:14-cr-00121-KGB                 Document 70        Filed 09/02/15        Page 2 of 6
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                  Judgment -          2_ of
                                                                                                               Page _ _       6
DEFENDANT: NATHANIEL SMITH, IV
CASE NUMBER: 4:14-cr-00121-01 KGB


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 120 months




    il1' The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends that the defendant participate in nonresidential substance abuse treatment, mental health counseling
 and educational and vocational programs during incarceration. The Court further recommends that the defendant be
 incarcerated in a facility close to the Central Arkansas area.

    il1' The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D at                                       D a.m.    D p.m.    on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAL
                            Case 4:14-cr-00121-KGB                Document 70            Filed 09/02/15           Page 3 of 6
AO 2458        (Rev. 09111) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                             Judgment-Page -~3- of              6
DEFENDANT: NATHANIEL SMITH, IV
CASE NUMBER: 4:14-cr-00121-01 KGB
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     l)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any Rersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and

  13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
            record or £ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
AO 2458   (Rev. 09/11)Case   4:14-cr-00121-KGB
                       Judgment in a Criminal Case    Document 70          Filed 09/02/15        Page 4 of 6
          Sheet 3C - Supervised Release
                                                                                             Judgment-Page           of
DEFENDANT: NATHANIEL SMITH, IV
CASE NUMBER: 4:14-cr-00121-01 KGB

                                  SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
 shall abstain from the use of alcohol throughout the course of treatment.

 The probation officer will provide state officials with all information required under any sexual predator and sexual offender
 notification and registration statutes and may direct the defendant to report to these agencies personally.

 The defendant shall participate in sex offender treatment, under the guidance and supervision of the probation officer, and
 abide by the rules, requirements, and conditions of the treatment program, including submitting to polygraph testing to aid
 in treatment and the supervision process. The defendant is required to pay all or a part of the cost of treatment, based on
 his ability to pay as determined by the probation officer. Further, the defendant will abstain from the use of alcohol
 throughout the course of supervision and submit to testing.

 The defendant shall not purchase, possess, subscribe, view, listen to, or use any media forms containing pornographic
 images or sexually oriented materials including but not limited to written, audio, visual depictions, such as pornographic
 books, magazines, literature, videos, CD's, DVD's digital media, or photographs. This includes materials containing
 "sexually explicit conduct" as defined in 18 U.S.C. 2256(2).

 The defendant shall not own or use any computer or device (whether or not equipped with a modem or access to the
 Internet) at any location without first receiving written permission from the probation officer. This includes access through
 any Internet service provider; bulletin board system; gaming system, device, or console; online social networking activities;
 any public or private computer network system; cell phone; or any other remote device capable of Internet connection.

 The defendant shall agree to the installation of computer monitoring software and hardware approved by the probation
 office and contribute to the computer monitoring cost based on the ability to pay as determined by the probation office.
 The defendant shall abide by all rules and requirements of the program and shall consent to unannounced examinations of
 all computer equipment internal and external storage devices which may include retrieval and copying of all data from the
 computer(s) and any internal and external peripherals and/or removal of such equipment for the purpose of conducting a
 more thorough inspection by the probation officer or probation service representative.

 The defendant shall submit his person and any property, house, residence, vehicle, papers, computer, or other electronic
 communication or data storage devices or media, and effects to a search at any time, with or without a warrant, by any law
 enforcement or probation officer with reasonable suspicion concerning a violation of a condition of probation or unlawful
 conduct by the person, and by any probation officer in the lawful discharge of the officer's supervision functions pursuant to
 18 u.s.c. 3583(d).

 The defendant shall disclose business and personal financial information upon the request of the U.S. Probation Office.

 The defendant will not directly or indirectly contact the victim(s) by any means, including in person, by mail, electronically,
 telephonically, or via third parties. Further, the defendant will remain at least 100 yards from the victim(s) at all times. If
 any contact occurs, the defendant will immediately leave the area of contact and report the contact to the probation office.

 The defendant will not associate with or have any contact with known convicted sex offenders unless in a therapeutic
 setting and approved by the probation office.

 The defendant will not own, use, or have access to the services of any commercial mail receiving agency, nor will the
 defendant open or maintain a post office box or storage unit, unless approved by the U.S. Probation Office.
AO 245B                 Case 4:14-cr-00121-KGB
           (Rev. 09/11) Judgment in a Criminal Case          Document 70            Filed 09/02/15         Page 5 of 6
           Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment -   Page _ _5
                                                                                                                       __     of         6
DEFENDANT: NATHANIEL SMITH, IV
CASE NUMBER: 4:14-cr-00121-01 KGB
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                       Fine                                Restitution
TOTALS            $ 100.00                                         $ 0.00                             $ 0.00



D The determination of restitution is deferred until       ---
                                                                    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned J?ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                         Total Loss*          Restitution Ordered Priority or Percentage




 TOTALS                           $                         0.00         $ - - - - - - - -0.00
                                                                                           --


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the         D fine    D restitution.
      D the interest requirement for the      D     fine    D restitution is modified as follows:


 *Findings forthe total amount oflosses are req_uired under Chapters 109A, 110, l lOA, and l 13A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
AO 2458                 Case 4:14-cr-00121-KGB
           (Rev. 09/11) Judgment in a Criminal Case                Document 70            Filed 09/02/15            Page 6 of 6
           Sheet 6 - Schedule of Payments
                                                                                                              Judgment - Page -~6_ of                   6
DEFENDANT: NATHANIEL SMITH, IV
CASE NUMBER: 4:14-cr-00121-01 KGB

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri/ Lump sum payment of$ _10_0_._0_0_ _ __ due immediately, balance due
           D     not later than                                     , or
           D     in accordance         D    C,     D    D,     D      E, or     D F below; or

B     D    Payment to begin immediately (may be combined with                 D C,       DD, or        D F below); or

C     D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                         (e.g.. weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through tbe Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
